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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

Vs.                        CASE NO. 4:07cr00317-02 JMM

SCOTTIE LEE COSTNER
USM No. 24818-009


                                         ORDER

      Due to a clerical error, the Judgment for Revocation of Supervised Release entered

June 21, 2012 (DE #828) is amended to include TWO (2) years supervised release (to run

concurrent to 4:07cr251-01) as stated on record, following the defendant’s release from

the Bureau of Prisons.

      General Conditions of Supervision include:

      1)     that the defendant must report to the probation office in the district to which
             the defendant is released within 72 hours of release from the custody of the
             Bureau of Prisons.
      2)     The defendant shall not commit another federal, state, or local crime.
      3)     The defendant shall not unlawfully possess a controlled substance. The
             defendant shall refrain from any unlawful use of a controlled substance.
      4)     The defendant shall not possess a firearm, ammunition, destructive device,
             or any other dangerous weapon.
      5)     The defendant shall submit to one drug test within 15 days of release from
             imprisonment and at least two periodic drug tests thereafter, as determined
             by the court.

      Standard Conditions of Supervision include:

      1)     the defendant shall not leave the judicial district without the permission of the
             court or probation officer;
      2)      the defendant shall report to the probation officer in a manner and frequency
             directed by the court or probation officer;
      3)     the defendant shall answer truthfully all inquiries by the probation officer and
             follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family
             responsibilities;
      5)     the defendant shall work regularly at a lawful occupation, unless excused by
             the probation officer for schooling, training, or other acceptable reasons;
      6)     the defendant shall notify the probation officer at least ten days prior to any
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             change in residence or employment;
      7)     the defendant shall refrain from excessive use of alcohol and shall not
             purchase, possess, use, distribute, or administer any controlled substance or
             any paraphernalia related to any controlled substances, except as prescribed
             by a physician;
      8)     the defendant shall not frequent places where controlled substances are
             illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any persons engaged in criminal activity
             and shall not associate with any person convicted of a felony, unless granted
             permission to do so by the probation officer;
    10)      the defendant shall permit a probation officer to visit him or her at any time at
             home or elsewhere and shall permit confiscation of any contraband observed
             in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of
             being arrested or questioned by a law enforcement officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a
             special agent of a law enforcement agency without the permission of the
             court; and
     13)     as directed by the probation officer, the defendant shall notify third parties of
             risks that may be occasioned by the defendant’s criminal record, personal
             history, or characteristics and shall permit the probation officer to make such
             notifications and confirm the defendant’s compliance with such notification
             requirement.

      Special conditions of supervision remain in effect. These include:

       1)    The first six (6) months of supervised release, the defendant shall reside in a
             residential reentry facility.
       2)    The defendant shall participate, under the guidance and supervision of the
             probation officer, in a substance abuse treatment program which may include
             testing, outpatient counseling, and residential treatment. Further, the
             defendant shall abstain from the use of alcohol throughout the course of
             treatment.
       3)    The defendant shall participate in mental health counseling under the
             guidance and supervision of the U.S. Probation Office.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Service.

      IT IS SO ORDERED this 30th day of October, 2012.


                                          UNITED STATES DISTRICT JUDGE
